                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                     )     MATTICE/CARTER
                                              )
        v.                                    )     CASE NO. 4:10-CR-28
                                              )
 MICHAEL CANNADY                              )


                                            ORDER

        On January 5, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture, distribute, and

 possess with the intent to distribute five (5) grams or more of methamphetamine (actual) and fifty

 (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 USC §§ 846 and

 841(b)(1)(B), and to Count Three of the Indictment, felon in possession of a firearm or

 ammunition, in violation of 18 U.S.C. § 922(g), in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment and to Count

 Three of the Indictment; (c) that a decision on whether to accept the plea agreement be deferred

 until sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter

 (Doc. 117). Neither party filed an objection within the given fourteen days. After reviewing the

 record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

 the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation pursuant

 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



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        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment and to Count Three of the Indictment, in exchange for the undertakings made by the

 government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment and to Count Three of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday, April

 18, 2011, at 9:00 am.



        SO ORDERED.

        ENTER:




                                                          /s/Harry S. Mattice, Jr.
                                                          HARRY S. MATTICE, JR.
                                                     UNITED STATES DISTRICT JUDGE




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